     Case 5:19-cv-00038-MFU Document 9 Filed 08/26/19 Page 1 of 1 Pageid#: 23
                                                                 CLERKS OFFICE U S D ST.COURT
                                                                        ATROAN6sk,tA
                                                                            FILED

                   Iw vns o lvso svavssolsvm cv couav                   Ad' 2s 22,8
                  FO R TH E W E STERN D ISTRICT O F W R GIN IA JULI
                                                                  A ououu uuRx
                           H ARM SON BU R G D IW SIO N       BY;
                                                                                    R
AD AM ARM STRO N G &
PRIM ETIM E VACATIO N
SPE CIALS,LLC                             Case N o.:5:19-cv-38

              lalaitltiffsy

V.


H AD LE GAL SE RVICE S,LLC &
M ARK SALZM A N                           By: M ichaelF.U rbansld
                                              ChiefUnited StatesDistrictJudge
              D efendants.



                                      O RD E R

        PursuanttoRule41(a)(1)(A)(i)oftheFederalRulesofCivilProcedute,plaintiffsAdam
Arm strong and Ptim edm e V acation Specials,LLC,have m oved to voluntarily disnaiss all

cloimsintllisacéonwithoutptejudice.ECFNo.8.ThemodonisGRANTED.Tlaismatter
isD ISM ISSED withoutprejui ce,with each partytobearitsown costsand fees.
         ltisSO O RD E RED .

                                     Enteted: &%-g4--zo /î
                                  /w/ 4r2.    N ##.       '
                                        M ichaelF.       ki
                                        Claie mtedStatesDisttictludge
